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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,

              Plaintiff,                   CASE NO. CR-18-00258-BLW

vs.
                                           DEFENDANT GENNADY
PAVEL BABICHENKO,                          BABITCHENKO’S MOTION TO
GENNADY BABITCHENKO,                       EXCLUDE THE GOVERNMENT’S
PIOTR BABICHENKO,                          LATE-DISCLOSED SUMMARY
TIMOFEY BABICHENKO,                        EXHIBITS
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

              Defendants.




  1 • DEFENDANT GENNADY BABITCHENKO’S MOTION TO EXCLUDE THE
  GOVERNMENT’S LATE-DISCLOSED SUMMARY EXHIBITS
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        Defendant Gennady Babitchenko,1 through his attorney, moves the Court pursuant to the

Fifth and Sixth Amendments, Federal Rule of Criminal Procedure 16, Federal Rule of Evidence

1006, and this Court’s inherent authority to enforce its orders regarding pretrial deadlines, to

exclude the Government’s late-disclosed summary exhibits from trial. Summary exhibits were due

April 1, 2021, but the Government disclosed eighteen summary exhibits totaling nearly 2,000

pages on April 6, 2021.2 The Defendants will be unable to properly vet, move in limine to exclude,

and prepare to rebut at trial those summary exhibits. To ensure the fair administration of justice

and to safeguard the Defendants’ right to a fair trial, this Court should exclude them.

I.      Background

        The trial in this case is set to begin on June 8, 2021. On March 8, 2021, pursuant to the

parties’ stipulation, the Court ordered that the Government provide all discovery and summary

exhibits by April 1, 2021. Dkts. 777, 778. The Government provided 169 summary exhibits by

that April 1 deadline but did not disclose an additional eighteen summary exhibits until April 6.3

Those eighteen summary exhibits are mostly Excel files which detail financial transactions of bank

accounts primarily associated with Gennady Babitchenko, as well as incoming and outgoing wire

transfers associated with all of the Defendants. Many of the exhibits include only a Bates range as



1
  This motion is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr Babichenko,
Timofey Babichenko, Kristina Babichenko, Natalya Babichenko, David Bibikov, Anna
Iyerusalimets, and Mikhail Iyerusalimets (collectively the “Defendants”).
2
  The Defendants have also moved for an extension of the motion in limine deadline with respect
to the summary exhibits, see Dkt. 811, and they intend to challenge the admissibility of the
summary exhibits on the merits.
3
  The Government provided its 30th discovery production the day before, on April 5. It appears
one of those files – which is currently just an excel placeholder – may be a summary exhibit. If so,
this motion applies equally to that summary exhibit.

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the source of all of the information in each file, and the eighteen files total nearly two thousand

pages.

II.      Legal Standards

         This Court has the inherent authority to “enter pretrial case management and discovery

orders designed to ensure that the relevant issues to be tried are identified, that the parties have an

opportunity to engage in appropriate discovery and that the parties are adequately and timely

prepared so that the trial can proceed efficiently and intelligibly.” United States v. W.R. Grace,

526 F.3d 499, 509 (9th Cir. 2008) (en banc); see also Fed. R. Crim. Pro. 2 (“These rules are to be

interpreted to provide for the just determination of every criminal proceeding, to secure simplicity

in procedure and fairness in administration, and to eliminate unjustifiable expense and delay.”)

(emphasis added), 16(a) (setting forth the Government’s disclosure requirements); Fed. R. Evid.

1006 (requiring that the proponent of a summary exhibit make it available for examination “at a

reasonable time”). To give life to that inherent authority, the Court may exclude evidence for

failure to comply with its pretrial orders. See Taylor v. Illinois, 484 U.S. 400, 414 (1998)

(excluding testimony for failure to identify witness); United States v. Nobles, 422 U.S. 225, 241

(1975) (“The court’s preclusion sanction was an entirely proper method of assuring compliance

with its order.”); see also Fed. R. Crim. Pro. 16(d)(2) (providing that the court may enforce “this

rule,” including by any order “that is just under the circumstances.”). “[T]he essential premise of

the court’s inherent power to manage its cases [is] to ensure the fair and effective administration

of the criminal justice system.” W.R. Grace, 526 F.3d at 512, 513–14. That power is thus rooted

in the U.S. Constitution, which confers upon all criminal defendants the right to due process,

effective assistance of counsel, confrontation, cross examination, and – at bottom – a fair trial. See

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U.S. CONST. amends. V, VI.

III.   Argument

       To ensure the fair and effective administration of justice, and that the Defendants receive

the fair trial to which they are constitutionally entitled, this Court should exclude the Government’s

late-disclosed summary exhibits. Trial is just two months away, and defense counsel have endless

tasks to complete in the meantime in order to effectively represent the Defendants at trial. The

April 1 deadline was the bare minimum necessary to give the Defendants sufficient time to vet,

raise pre-trial evidentiary challenges to,4 and prepare to rebut at trial, the Government’s dense and

complex summary exhibits. The Government agreed to the April 1 deadline and did not request an

extension from this Court. Instead, it appears to have inadvertently omitted the eighteen summary

exhibits from its April 1 discovery production, and simply produced them five days later without

explanation or excuse. The Government failed to comply with this Court’s pretrial order, and as a

result has jeopardized the fair administration of justice and the Defendants’ right to a fair trial

under the U.S. Constitution. This Court should therefore exclude the late-disclosed summary

exhibits.

       To be sure, no other remedy is appropriate or even possible. “It may well be true that

alternative sanctions are adequate and appropriate in most cases, but it is equally clear that they



4 Even without accounting for the late-disclosed exhibits, the summary exhibits produced on April
1 have left the Defendants scrambling. The Government’s draft exhibit lists did not include all of
the thousands of documents underlying 185 of its summary exhibits, and so the Defendants were
not on notice of the Government’s intent to introduce summary exhibits related to those
documents. And it goes without saying that the two days between the production of the eighteen
summary exhibits and the motion in limine deadline was insufficient time to identify, prepare, and
file motions in limine on all eighteen summary exhibits.

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would be less effective than the preclusion sanction and that there are instances in which they

would perpetuate rather than limit the prejudice to the [Defendants] and the harm to the adversary

process.” Taylor, 484 U.S. at 413. That is true here. This is not “most cases.” The Defendants are

in the final stretch of preparations for a monumentally-complex, document-heavy ten-week trial

that the Court has indicated it will not continue. The Governments’ late disclosure has made the

already-disadvantaged Defendants even more so. And the only remedy available to the Defendants

is exclusion of these documents. Thus, the Court must either allow the Government to introduce

the late-filed summary exhibits to the detriment of the Defendants’ constitutional right to a fair

trial or exclude the summary exhibits at the (arguable) detriment to the Government’s ability to

secure a conviction. The choice is clear. This Court should hold the Government accountable for

its own actions – not the Defendants – and exclude the late-disclosed summary exhibits from trial.

IV.     Conclusion

        The Defendants respectfully request that the Court enforce its pretrial order, ensure the fair

administration of justice, and protect the Defendants’ constitutional right to a fair trial by excluding

the Government’s late-filed summary exhibits.

        DATED this 13th day of April 2021.

                                                        /s/ Jeffrey Brownson




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of April 2021, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:

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                                     /s/ Jeffrey Brownson




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